      Case 2:14-cr-00075-LRS     ECF No. 186    filed 09/18/14   PageID.649 Page 1 of 1



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 6                       UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WASHINGTON
 7
 8    UNITED STATES OF AMERICA,
                                                  NO. 2:14-CR-00075-LRS-5
 9                      Plaintiff,
                                                  ORDER GRANTING MOTION
10                v.                              TO AMEND RELEASE
                                                  CONDITIONS
11    ANGELA MECHELE HAUSEUR,
      a/k/a Angela Mechele Hauser,
12                      Defendant.
13
14         Good cause appearing and there being no objection from the Government or
15   U.S. Probation, Defendant’s Motion To Amend Release Conditions (ECF No. 184)
16   and the Motion To Expedite hearing of the same (ECF No. 185) are GRANTED.
17         Release Condition No. 13 in the Order Setting Conditions Of Release (ECF No.
18   175) is AMENDED to read as follows: “Avoid all contact, direct or indirect, with
19   known felons and Co-Defendant(s), with the exception of Ms. Libie Todd.”
20         IT IS SO ORDERED. The District Court Executive is directed to
21   enter this Order and provide a copy to counsel of record and to U.S. Probation
22   (Spokane).
23         DATED this     18th       day of September, 2014.
24
                                        s/Lonny R. Suko
25
                                    LONNY R. SUKO
26                          Senior United States District Judge
27
     ORDER GRANTING MOTION
28   TO AMEND RELEASE CONDITIONS - 1
